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     KALOUD, INC.
11
12                               UNITED STATES DISTRICT COURT
13                              CENTRAL DISTRICT OF CALIFORNIA
14
15   KALOUD, INC., a California corporation,    Case No. 2:15-cv-03706-RGK-PJW
                                                Hon. R. Gary Klausner
16
                   Plaintiff,                   ORDER GRANTING MOTION FOR
17                                              PERMANENT INJUNCTION
            v.
18
                                                Date: August 22, 2016
19   SHISHA LAND WHOLESALE, INC., a             Time: 9:00 a.m.
     California corporation; and DOES 1-10      Crtm: 850
20
     INCLUSIVE,
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                   Defendants.
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                      ORDER GRANTING MOTION FOR PERMANENT INJUNCTION
 Case 2:15-cv-03706-RGK-PJW Document 142 Filed 08/22/16 Page 2 of 2 Page ID #:2281


1          The Court, having read and considered the parties’ submissions in connection with
2    Plaintiff Kaloud, Inc.’s Motion for Permanent Injunction and having considered the
3    arguments of counsel thereon, hereby GRANTS the motion as follows:
4                             PERMANENT INJUNCTION ORDER
5          Defendants and employees, directors, owners, officers, managers, and agents are
6    prohibited from offering for sale, selling, importing or distributing any product that bears
7    the “Kaloud” or Kaloud “Lotus” name and/or trademark, including the stylized logo of
8    Reg. No. 4762725 and Kaloud Lotus trade dress, or from stating expressly or impliedly in
9    any communication or advertisement that any product is sponsored with, affiliated by or
10   sourced from Kaloud, or from using or facilitating the use of, in any manner “Kaloud” or
11   “Kaloud Lotus” name and/or trademark, including the stylized logo of Reg. No. 4762725 or
12   the Kaloud Lotus trade dress, unless that product is an authorized Kaloud product.
13   IT IS SO ORDERED.
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15   Dated: August 22, 2016
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                                                Hon. R. Gary Klausner
19                                              United States District Judge
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                      ORDER GRANTING MOTION FOR PERMANENT INJUNCTION
